






NO. 07-07-0286-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 25, 2007



______________________________




TAMRA BARRON MORPHIS, APPELLANT



V.



FRANKLIN DUAINE MORPHIS, APPELLEE




_________________________________



FROM THE COUNTY COURT AT LAW NO. 1 OF LUBBOCK COUNTY;



NO. 2006-533,970; HONORABLE LARRY B. "RUSTY" LADD, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION


	Appellant, Tamra Barron Morphis, perfected this appeal from a final decree of
divorce.  On July 12, 2007, the trial court granted Morphis's motion for new trial.  The legal
effect of an order granting a new trial vacates the original judgment and returns the case
to the trial court as if no previous trial had been conducted.  Old Republic Ins. Co. v. Scott,
846 S.W.3d 832, 833 (Tex. 1993); see also Markowitz v. Markowitz, 118 S.W.3d 82, 88
(Tex.App.-Houston [14th Dist.] 2003, pet. denied); Long John Silver's, Inc. v. Martinez, 850
S.W.2d 773, 777 (Tex.App.-San Antonio 1993, writ dism'd w.o.j.).  Thus, there is no final
judgment from which an appeal may be prosecuted. 

	Accordingly, the appeal is dismissed.

							Patrick A. Pirtle

							      Justice





